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 7

 8                              UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES OF AMERICA,                      CASE NO. 2:14-CR-00300-GEB

12                                Plaintiff,      ORDER SEALING DOCUMENTS AS SET
                                                  FORTH IN UNITED STATES’S NOTICE
13                         v.

14 RENE JAQUEZ CORRAL,

15                                Defendant.

16

17         Pursuant to Local Rule 141(b) and based upon the representations contained in the

18 United States’s Request to Seal and the factors set forth in In Re Copley Press, Inc., 518

19 F.3d 1022, 1028 (9th Cir. 2008), IT IS HEREBY ORDERED that the three-page document

20 pertaining to defendant Rene Jaquez Corral, and United States’s Request to Seal shall be

21 SEALED until further order of this Court.

22         It is further ordered that access to the sealed documents shall be limited to the

23 United States and counsel for the defendant.

24         Dated: February 1, 2018

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      [PROPOSED] ORDER SEALING DOCUMENTS AS       1
30    SET FORTH IN UNITED STATES’S NOTICE
